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RETURN OF SERVICE
Court: SUPERIOR COURT OF NEW JERSEY
LAW DIVISION
MONMOUTH COUNTY

Case No.: L 2682-16

Plaintiff: Alan Brahamsha, individually and on behalf of ali others similarly situated

Defendant: Supercell OY, a I'innish limited company | .

1, _LUlZ A PIMENTEL , being duly sworn on oath, depose and say the following:

Tam over the age of 18, not a party to this action, and an employee/agent of Elite Process Servirig and Investigations,
Inc., a licensed private detective agency, license number 117-001199. I further acknowledge that I am authorized to
effectuate service of process in the State of _ CALIFORNIA Sk oy
Type of Process: Civil Action Summons and Class Action Complaint and Demand for jury Trial

Defendant to be served: Supercell OY, c/o Jennifer Kelly . |

Address where attempted or served: Fenwick & West LLP, 555 California Street, 13th Floor, San Francisca, CA
94104

.2, 2076 M M eas ‘ .
On NOV. 2, 20 at 2:40 P . ifServed () Non-served the within named defendant in the following manner:

Lj INDIVIDUAL SERVICE: By delivering a copy of this process to the within named Defendant personally.

corporate SERVICE: By leaving a copy of this process with _CYNTHIA RODRIGUEZ
{Title)_ASSISTANT , a person authorized to accept service and informed the person of the contents thereof.

 

C] SUBSTITUTE SERVICE: By leaving a copy of this process at his/her usual place of abode with
(Relationship) , aperson residing therein who is the age of 13 years or

upwards and informed that person of the contents thereof and that further mailed a copy of this process in a sealed

envelope with postage paid addressed to the defendant at his/her usual place of abode on , 2016.

[| NON SERVICE: I have been unable to effect service because of the following reason(s):

 

 

Description of person process was left with:

F HISP __ Hair:_5® Approx. Age:_2539 Height: 54" Weight:_'4°

Sex: Race:

Comments:

 

I declare under penalty of perjury under the laws of the United States of America that the foregoing information

contained in the Returm of Service is true and correct.

  
  
 
 

FURTHER AFFIANT SAYETH NOT.

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County of & PA Mateo (Exefuted on)

Subscribed and Swom to before me on this

RANCISCO COUNTY

 

    
 

 
  
 
 

Job: 341646
File:

ROBERTA J. ANDERSON
Commission # 2056208 5
Notary Public - California. z
San Mateo County =
res Feb 24, 2018

 
   
   
 

 
